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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

Case No. 23-cv-1149

JOHN DOE,

         Plaintiff,

v.

JANE ROE,

         Defendant.

                           Objection to Motion to Restrict Party Names

                                             Introduction

     John Doe is seeking to impose potentially massive damages on Jane Roe for accusing him of

sexual assault. Compl. 8. If he succeeds, she may well be financially ruined because of her

speech—speech that, if Doe is not correct, is true and therefore constitutionally protected.

     Doe is of course entitled to do this, so long as he is able to prevail on his libel claim. But he is

not entitled to do this under the cloak of secrecy. Like other libel plaintiffs, and like most other

civil plaintiffs and defendants, as well as criminal defendants, he must litigate this case in his own

name.

     Volokh, as a member of the public, is entitled to objection to Doe’s Motion for Leave to Re-

strict. D.C.COLO.LCivR 7.2(d). Volokh often writes about libel lawsuits in which a plaintiff has

alleged that a defendant had falsely accused plaintiff of sexual misconduct. 1 He also writes about



     1
     See, e.g., Eugene Volokh, #TheyLied (or #TheyWereNegligent) Libel Claim Based on Alle-
gations of Rape of Third Party Student Can Proceed, Volokh Conspiracy (Reason) (July 20, 2022),
https://reason.com/volokh/2022/07/20/theylied-or-theywerenegligent-libel-claim-based-on-alle-

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attempts to get injunctions aimed at restricting parties from talking about their adversaries—an

attempt that appears likely in this case, given plaintiff’s statement “that he anticipates later moving

for a Protective Order requesting that Defendant be prohibited from ever disclosing his identity.”

Mot. to Restrict 1. See, e.g., Eugene Volokh, The Law of Pseudonymous Litigation, 73 Hastings

L.J. 1353, 1376 (2022); Eugene Volokh, Media Outlets Forbidden from Identifying Recently Re-

leased Drug Cartel Ex-Boss as Plaintiff in Privacy Lawsuit, Volokh Conspiracy (Reason) (Oct.

12, 2021), https://perma.cc/SS4V-AJAJ; Eugene Volokh, Court Orders #MeToo Plaintiff Not to

Mention Defendant’s Name in Public, Volokh Conspiracy (Reason) (Oct. 11, 2021), https://

perma.cc/8Q86-G5PH.

    To be able to write about this case, he wants to be able to have the same sort of broad access

that journalists, academics, and ordinary citizens routinely have to most libel cases—the ability to

identify the parties, to determine what other cases they have been involved in (e.g., the civil pro-

tection order discussed at Mot. to Restrict 2, 3), and to otherwise research the parties to a case. See,

e.g., Volokh, supra, 73 Hastings L.J. at 1370-71 nn.74-75, 1373 & nn.86-90 (discussing the results




gations-of-rape-of-third-party-student-can-proceed/; Eugene Volokh, #TheyLied Malicious Pros-
ecution / Abuse of Process / Emotional Distress Claim Can Go Forward, Volokh Conspiracy (Rea-
son) (Nov. 14, 2022), https://reason.com/volokh/2022/11/14/theylied-malicious-prosecution-
abuse-of-process-emotional-distress-claim-can-go-forward/; Eugene Volokh, Important Case
About #TheyLied Libel Lawsuits Against Federal Employees, Volokh Conspiracy (Reason) (July
26, 2022), https://reason.com/volokh/2022/07/26/important-case-about-theylied-libel-lawsuits-
against-federal-employees/; Eugene Volokh, #TheyLied Lawsuit Over Allegedly False Stalking/
Assault/Etc. Report to Police Can Go Forward, Volokh Conspiracy (Reason) (May 19, 2022),
https://reason.com/volokh/2022/05/19/theylied-lawsuit-over-allegedly-false-stalking-assault-etc-
report-to-police-can-go-forward/; Eugene Volokh, Court Reinstates $550K Award in #TheyLied
Lawsuit, Volokh Conspiracy (Reason) (Apr. 13, 2021), https://reason.com/volokh/2021/03/13/
court-reinstates-550k-theylied-award/.

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of his research into Doe v. Wang, No. 1:20-cv-02765, 2022 WL 89172 (D. Colo. Nov. 8, 2021),

which had been depseudonymized by Magistrate Judge Michael Hegarty).

                                             Argument

I.     Parties must generally litigate in their own names, and this is especially important in
       cases implicating defendants’ free speech rights

     “‘[T]he public has an important interest in access to legal proceedings,’” including in the names

of the parties. Doe v. Merck & Co., Inc., No. 11-cv-02680-RBJ-KLM, 2012 WL 555520, *3 (D.

Colo. Feb. 17, 2012) (quoting Femedeer v. Haun, 227 F.3d 1244, 1246 (10th Cir. 2000)). “‘Ordi-

narily, those using the courts must be prepared to accept the public scrutiny that is an inherent part

of public trials.’” Id. (quoting Femedeer); Roe v. Heil, No. 11-cv-01983-WJM-KLM, 2011 WL

3924962, *4 (D. Colo. Sept. 7, 2011) (quoting Femedeer). “The public has a legitimate interest in

knowing the facts of this case and the parties involved.” Doe v. Wang, No. 20-CV-02765-RMR-

MEH, 2022 WL 89172, *5 (D. Colo. Jan. 6, 2022) (so holding in a libel case).

     “We begin with the fundamental presupposition that it is the responsibility of judges to avoid

secrecy, in camera hearings and the concealment of the judicial process from public view . . . .

Courts are public institutions which exist for the public to serve the public interest. Even a super-

ficial recognition of our judicial history compels one to recognize that secret court proceedings are

anathema to a free society.” M.M. v. Zavaras, 939 F. Supp. 799, 801 (D. Colo. 1996) (so reasoning

in rejecting an attempt to proceed pseudonymously), aff’d, 139 F.3d 798 (10th Cir. 1998); Doe v.

Regents of Univ. of Colorado, 603 F. Supp. 3d 1014, 1019 (D. Colo. 2022) (same).

     Public access, including the norm of litigating under parties’ own names, “allows the citizenry

to monitor the functioning of our courts, thereby [e]nsuring quality, honesty and respect for our

legal system.” Does 1-3 v. Mills, 39 F.4th 20, 25 (1st Cir. 2022) (citation omitted). “Pseudonymous

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litigation undermines the public’s right of access to judicial proceedings. The public has an interest

in knowing the names of the litigants, . . . and disclosing the parties’ identities furthers openness

of judicial proceedings . . . .” Doe v. Public Citizen, 749 F.3d 246, 263 (4th Cir. 2014) (citations

omitted). The right of public access “protects the public’s ability to oversee and monitor the work-

ings” of the legal system and “promotes the institutional integrity of the Judicial Branch.” Id. This

is important to “[p]ublic confidence in the judiciary,” which “cannot long be maintained where

important judicial decisions are made behind closed doors and then announced in conclusive terms

to the public, with the record supporting the court’s decision sealed from public view.” Id. (cleaned

up).

      And public monitoring and confidence are particularly important when a person is trying to

use the legal system to impose liability on another person for making an accusation that, if true,

would be constitutionally protected and valuable speech. Jane Roe’s speech may be punished if it

is knowingly or recklessly false—but the public is entitled to supervise the proceedings so it can

be confident that the correct result has been reached. Indeed, the need for “[p]ublic confidence in

the judiciary,” Public Citizen, 749 F.3d at 263, is especially strong when someone is being sued

over this sort of #MeToo claim. If a decision against Jane Roe is rendered “behind closed doors

and then announced in conclusive terms to the public,” with details about the plaintiff “sealed from

public view,” that would understandably increase public skepticism about the fairness of the pro-

cess. Id.

II.     Risk to reputation does not suffice to justify pseudonymity

      To be sure, in some “exceptional circumstances,” Femedeer, 227 F.3d at 1246, pseudonymity

is allowed. The most common example is litigation involving minors. See, e.g. Doe v. Woodard,


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No. 15-cv-01165-KLM, 2015 WL 13848981, *2 (D. Colo. July 20, 2015). But this is not one such

exceptional case.

   In particular, Appellant’s concerns “that revelation of his identity would exacerbate” “reputa-

tional harm” and “damag[e] his future educational and career endeavors” are far from “exceptional.”

Indeed, libel cases, including ones brought over allegations of sexual assault, are routinely litigated

under the parties’ own names. See, e.g., Hockenberry v. United States, 42 F.4th 1164 (10th Cir.

2022); Khan v. Yale Univ., 27 F.4th 805 (2d Cir. 2022); Ralston v. Garabedian, No. CV 19-1539,

2022 WL 3704097 (E.D. Pa. Aug. 26, 2022).

   This is so because pseudonymity cannot be justified by “economic or professional concerns.”

Nat’l Commodity & Barter Ass’n, Nat’l Commodity Exch. v. Gibbs, 886 F.2d 1240, 1245 (10th

Cir. 1989); United States ex rel. Little v. Triumph Gear Sys., Inc., 870 F.3d 1242, 1249 n.10 (10th

Cir. 2017). “That a plaintiff may suffer embarrassment or economic harm is not enough” to justify

pseudonymity. Doe v. Megless, 654 F.3d 404, 408 (3d Cir. 2011). That is equally true when the

economic harm stems from “potential negative scrutiny from future employers.” D.E. v. Doe, 834

F.3d 723, 728 (6th Cir. 2016). And courts have expressly applied this reasoning to libel cases:

   The allegations in defamation cases will very frequently involve statements that, if taken
   to be true, could embarrass plaintiffs or cause them reputation harm. This does not come
   close to justifying anonymity, however, and plaintiffs regularly litigate defamation claims
   on the public docket even when the allegedly defamatory statement could, if taken as true,
   cause them some reputation harm.

Doe v. Bogan, 542 F. Supp. 3d 19, 23 (D.D.C. 2021); see also Doe v. Wash. Post Co., No. 1:19-

cv-00477-UNA, 2019 WL 2336597, at *1 (D.D.C. Feb. 26, 2019) (rejecting pseudonymity in a

libel case); Roe v. Does 1-11, No. 20-CV-3788-MKB, 2020 WL 6152174, at *6 (E.D.N.Y. Oct 14,




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2020) (likewise); P.D. & Assocs. v. Richardson, 64 Misc. 3d 763, 767 (N.Y. Sup. Ct. 2019) (like-

wise). “[I]f courts were to allow mutual pseudonymity in sexual assault-related libel or slander

suits, then ‘whole areas of the law could become difficult for the media and the public to monitor,

outside the constrained accounts of the facts offered up by judges and lawyers.’” Doe v. Doe, No.

5:22-CV-500-D-BM, 2023 WL 115563, *4 (E.D.N.C. Jan. 5, 2023) (quoting Volokh, supra, 73

Hastings L.J. at 1383), appeal pending.

   Indeed, many kinds of civil suits and criminal prosecutions (even beyond defamation lawsuits)

routinely expose litigants to the likelihood of reputational harm. For example, civil defendants

accused of sexual assault typically proceed publicly, even though identifying themselves as some-

one merely accused could be professionally ruinous. Yet,

   The supposed harm from being the target of a lawsuit alleging sexual abuse is not enough
   to justify shrouding this case with a veil of secrecy. . . . In nearly all civil and criminal
   litigation filed in the United States Courts, one party asserts that the allegations leveled
   against it by another party are patently false, and the result of the litigation may quickly
   prove that. However, if the purported falsity of the complaint’s allegations were sufficient
   to seal an entire case, then the law would recognize a presumption to seal instead of a
   presumption of openness.

Chalmers v. Martin, No. 21-cv-02468-NRN, 2021 WL 6136179, *2-*3 (D. Colo. Dec. 28, 2021)

(cleaned up).

   [I]t is difficult to see how defendant [who is being sued for alleged child molestation] has
   set himself apart from any individual who may be named as a defendant in a civil suit for
   damages. It seems to this court that any doctor sued for medical malpractice, any lawyer
   sued for legal malpractice, or any individual sued for sexual molestation can assert that the
   plaintiff’s allegations will cause harm to his reputation, embarrassment and stress among
   his family members, and damage to his business as a result of the litigation. Any such
   doctor or lawyer can also assert that the plaintiff’s act of naming him as a defendant is a
   bad-faith tactic to induce settlement and reap economic gain at the defendant’s expense
   through baseless allegations.




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Doe v. Doe, 668 N.E.2d 1160, 1167 (Ill. Ct. App. 1996). Despite the “reputational interest at stake”

in such cases, defendants are “not entitled to the rare dispensation of anonymity against the world.”

Roe v. Doe, 2019 WL 2058669, *5-*6 (D.D.C. May 7, 2019). Just as defendants seeking to rebut

claims of sexual abuse are not pseudonymized, so plaintiffs seeking to rebut such claims should

not be either.

    Similarly, criminal defendants accused of possessing child pornography would surely prefer

to proceed pseudonymously in order to minimize the reputational harm posed by such a serious

accusation. Yet they too must proceed publicly, for if the nature of child pornography and child

sexual abuse offenses “could qualify [a defendant] for the use of a pseudonym, there would be no

principled basis for denying pseudonymity to any defendant convicted of a similar sex offense.”

United States v. Stoterau, 524 F.3d 988, 1013 (9th Cir. 2008). Indeed, most defendants accused of

any crime would likely prefer to proceed pseudonymously, given the stigma associated with crim-

inal proceedings. Still, the legal system demands that they defend themselves publicly and openly.

    Plaintiffs in employment disputes may also often want to protect their professional reputation

and employment prospects by using pseudonyms. For example, an employment discrimination

plaintiff who alleges she was improperly fired might prefer to sue pseudonymously, fearing that

suing publicly (1) would identify her as a litigious employee, and (2) would air the employer’s

purported (but, she argues, pretextual) reasons for firing her. Yet despite these quite rational fears,

employment discrimination plaintiffs are still required to proceed publicly. See Southern Methodist

Univ. Ass’n of Women L. Students v. Wynne & Jaffe, 599 F.2d 707, 713 (5th Cir. 1979) (denying

pseudonymity to plaintiffs, partly because they “face no greater threat of retaliation than the typical

plaintiff alleging Title VII violations, including the other women who, under their real names and


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not anonymously, have filed sex discrimination suits against large law firm”) (quoted favorably in

Coe v. U.S. Dist. Ct. for Dist. of Colo., 676 F.2d 411, 417 (10th Cir. 1982)).

   No doubt lots of parties would prefer to keep their disputes private. For example, a plaintiff
   alleging he was discriminated against by his employer when his employment was termi-
   nated typically will have to disclose the employer’s reason for terminating the plaintiff’s
   employment—a reason that the plaintiff disputes is the real reason and which is often em-
   barrassing or even damaging to his or her reputation. But there is no suggestion that such
   a plaintiff may proceed under a pseudonym to protect his or her reputation.

Doe v. Milwaukee Cty., No. 18-cv-503, 2018 WL 3458985, at *1 (E.D. Wisc. July 18, 2018). “At

bottom, Plaintiff wants what most employment-discrimination plaintiffs would like: to sue their

former employer without future employers knowing about it. But while that desire is understand-

able, our system of dispute resolution does not allow it.” Doe v. Fedcap Rehab. Servs., Inc., No.

17-cv-8220-JPO, 2018 WL 2021588, at *3 (S.D.N.Y. Apr. 27, 2018).

   To be sure, on occasion a few courts have allowed pseudonymity in situations where other

courts would have denied it. Thus, for instance, B.R. v. F.C.S.B., No. 1:19-cv-00917, 2020 WL

12435689 (E.D. Va. Mar. 10, 2020), aff’d as to other matters, 17 F.4th 485 (4th Cir. 2021), allowed

pseudonymity not just for the sexual assault plaintiff (such plaintiffs are often allowed to proceed

pseudonymously) but also for the defendants, because “the Court does find it fundamentally unfair

that Plaintiff be permitted to use a pseudonym while the Defendants lie vulnerable to publicly

litigating such a sensitive matter,” id. at *26. Likewise, another District Court case allowed pseu-

donymity for a defendant accused of sexual assault as well as for his accuser, on the grounds that,

   if the plaintiff is allowed to proceed anonymously, as both parties agree she should be able
   to do, it would serve the interests of justice for the defendant to be able to do so as well, so
   that the parties are on equal footing as they litigate their respective claims and defenses.

Doe v. Doe, No. 20-cv-5329, 2020 WL 6900002, at *4 (E.D.N.Y. Nov. 24, 2020).




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    But the analyses in B.R. and Doe v. Doe seem questionable. B.R., for instance allowed pseu-

donymity even for the government body defendant, a school board (which is now identified in the

case as “F.C.S.B.”), as well as some school officials who were accused of failing to properly pro-

tect the plaintiff from sexual assault; that seems hard to justify. And Doe v. Doe relied in part on

the fact that the defendant there was “a partner of a well-known law firm in New York and an

adjunct law school instructor,” 2020 WL 6900002, at *3—yet surely any reputational protection

offered defendants must be the same regardless of their professional position. See Stern v. Stern,

66 N.J. 340, 349 (1975) (overturning trial court’s grant of pseudonymity in a divorce case, where

the husband was found guilty of adultery, on the grounds that “we do not approve . . . [of]

throw[ing] the protective cloak of anonymity over a successful and well-known member of the bar,

as would appear to have been the case here”). In any event, the dominant view is contrary to the

one expressed in those few cases.

    Doe argues that pseudonymity is necessary “to remedy exactly the kind of reputational harm

that revelation of his identity would exacerbate.” Mot. to Restrict 7. But, as in Doe v. Wang, Doe

is not suing “to prevent the disclosure of [his] private matter; rather, [he] is suing for compensation

for a disclosure that has already happened.” 2022 WL 89172, at *5 (cleaned up). Thus, this is not

a case “where the injury litigated against would be incurred as a result of the disclosure of the

[Doe’s] identity,” Raiser v. Church of Jesus Christ of Latter-Day Saints, 182 F. App’x 810, 811

(10th Cir. 2006), because he “seeks monetary compensation for a disclosure that has already oc-

curred,” id. at 812 n.2; see also Doe v. F.B.I., 218 F.R.D. 256, 260 (D. Colo. 2003). (To the extent

that plaintiff anticipates getting a gag order on Roe in this litigation, Mot. to Restrict 1, that is not




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a remedy that is expressly sought in the Complaint, Compl. 8; and in any event, the request for

such a presumptively unconstitutional prior restraint would itself merit close public scrutiny.)

III. Unlike Title IX cases in which plaintiffs are granted pseudonymity when suing univer-
     sities, Appellant’s suit is a simple defamation case against a private individual

   One of the rare situations in which courts have usually determined that there were “exceptional

circumstances” justifying pseudonymity arises in Title IX cases, where plaintiffs sue a university

for how it conducted a Title IX investigation. See Volokh, 73 Hastings L.J. at 1441-48 (collecting

cases). Courts have generally concluded that “the confidentiality of a Title IX disciplinary pro-

ceeding may sometimes . . . furnish grounds for finding an exceptional case warranting pseudo-

nymity.” Doe v. MIT, 46 F.4th 61, 74 (1st Cir. 2022). This is because confidentiality is an “im-

portant aspect” of Congress’s procedural requirements mandating that federally funded universi-

ties “adopt policies guaranteeing ‘a prompt, fair, and impartial investigation and resolution’ [of

sexual assault claims] and giv[e] certain procedural rights to both ‘the accuser and the accused.’”

Id; see also Doe v. Colgate Univ., No. 5:15-cv-1069, 2016 WL 1448829, at *3 (N.D.N.Y. Apr. 12,

2016) (“[T]he accused colleges and universities recognize the highly personal and sensitive nature

of these cases as well as the limited value of forcing plaintiffs to reveal identities when seeking to

vindicate their federal rights.”). And the remedy often sought—re-enrollment, or a clean academic

record—is closely tied to the confidentiality concerns underlying Title IX proceedings. See Doe v.

MIT, 46 F.4th at 74. Doe’s specific examples of where pseudonymity has been granted involve

such Title IX cases brought against universities. Mot. to Restrict 7.

   But these concerns justifying pseudonymity in Title IX lawsuits do not extend to libel lawsuits,

whether or not the lawsuit originates from a complaint brought by a classmate. While Congress




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has set up a system for confidentiality in university proceedings, nothing within that system sug-

gests a decision to provide pseudonymity to libel plaintiffs.

   John Doe did not bring a lawsuit against a university. Instead, he sued his accuser based on her

speech, and is indeed planning to seek an order further restraining her speech, Mot. to Restrict 1.

That his lawsuit stems from the accuser’s speech to a university does not make it any different

from a lawsuit based on speech to the police, or to an employer, or on Twitter. John Doe is suing

Jane Roe for defamation. He should have no greater rights than any other defamation plaintiff.

                                            Conclusion

   John Doe should be treated like other libel plaintiffs are routinely treated, and like most other

litigants are routinely treated: He should have to litigate this case in his own name.

   That is the way to preserve the public’s ability to supervise the judicial system when an accused

is suing an accuser, seeking damages based on the accuser’s speech. And it is the way to provide

maximum public confidence that, if the accuser is indeed subjected to a massive damage award,

this will have been done fairly and correctly.

                                                 Respectfully Submitted,

                                                 s/ Eugene Volokh
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                                                 May 7, 2023




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                                     Certificate of Service

   I hereby certify that on May 7, 2023, I electronically filed this Objection with the Clerk of

Court using the CM/ECF system, which will send notification of such filing to John Doe’s counsel.

Because Jane Roe has not yet appeared in this case, and is identified only by pseudonym, I am

unable to serve her.

                                            s/ Eugene Volokh

                                            Pro se




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